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                                           STATE OF NEW YORK
                                     OFFICE OF THE ATTORNEY GENERAL

          LETITIA JAMES                                                                DIVISION OF STATE COUNSEL
         ATTORNEY GENERAL                                                                     LITIGATION BUREAU




                                               December 19, 2023

Hon. Andrew T. Baxter
Federal Building and U.S. Courthouse
P.O. Box 7396
Syracuse, New York 13261

         Re:      Carrion v. MacKay, et al.
                  23-CV-1306 (DNH/ATB)

Dear Judge Baxter:

       Please allow this correspondence to serve as the Office of the Attorney General’s
response to Plaintiff’s Ex Parte Motion for Discovery. ECF. No. 4.

       To date, our office does not represent any of the named Defendants in the above
referenced matter. Thus, our office does not take a position on Plaintiff’s Motion for Discovery.


                                                               Respectfully,

                                                               LETITIA JAMES
                                                               Attorney General of the State of New York
                                                               The Capitol
                                                               Albany, New York 12224-0341

                                                               By: s/Rachael S. Ouimet
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cc:      Sara Wolkensdorf, Esq. (CM/ECF)
         Attorney for Plaintiff


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